     Case 1:20-cv-00290-RAH-CSC Document 45 Filed 02/16/23 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             SOUTHERN DIVISION

RAYMOND MATHIS,                            )
                                           )
      Plaintiff,                           )
                                           )
v.                                         ) CIVIL ACTION NO. 1:20-CV-290-RAH
                                           )
SHERIFF DONALD VALENZA, et al.,            )
                                           )
      Defendants.                          )

*     *       *     *       *      *

RAYMOND MATHIS,                            )
                                           )
      Plaintiff,                           )
                                           )
v.                                         ) CIVIL ACTION NO. 1:20-CV-352-RAH
                                           )
SHERIFF DONALD VALENZA, et al.,            )
                                           )
      Defendants.                          )

                                         ORDER

      On January 27, 2023, the Magistrate Judge entered a Recommendation to which no timely

objections have been filed. (Doc. 44.) Upon an independent review of the record and upon

consideration of the Recommendation, it is hereby ORDERED that the Recommendation is

ADOPTED and this case is DISMISSED without prejudice.

      Final judgment will be entered separately.

      DONE, on this the 16th day of February 2023.



                                   R. AUSTIN HUFFAKER, JR.
                                   UNITED STATES DISTRICT JUDGE
